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                 4                                   UNITED STATES DISTRICT COURT
                 5                                          DISTRICT OF NEVADA
                 6                                                      ***
                 7       UNITED STATES OF AMERICA,                              Case No. 2:07-CR-60 JCM (LRL)
                 8                                              Plaintiff(s),                     ORDER
                 9              v.
               10        LAURICE McCURDY,
               11                                            Defendant(s).
               12
               13              Presently before the court is pro se defendant Laurice McCurdy’s motion for a sentence
               14       reduction under Amendment 782 of 18 U.S.C. § 3582(c). (Doc. # 145).
               15              On December 5, 2007, defendant pled guilty to three counts of interference with commerce
               16       by robbery. (Doc. # 59). On March 10, 2008, defendant was sentenced on these charges. (Docs.
               17       # 79, 81).
               18              On July 28, 2015, pursuant to the District of Nevada’s protocol for discretionary sentence
               19       reductions, the court entered an order appointing the federal public defender as counsel to represent
               20       the defendant. (Doc. # 147).
               21              Amendment 782 to 18 U.S.C. § 3582(c) revised the sentencing guidelines applicable to
               22       drug offenses. It does not apply to the offenses for which defendant was convicted. As a result,
               23       the court finds that it was inappropriate to appoint counsel in accordance with the protocol.
               24       Defendant’s motion will be denied.
               25              Accordingly,
               26              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that pro se defendant Laurice
               27       McCurdy’s motion for a sentence reduction, (doc. # 145), be, and the same hereby is, DENIED.
               28

James C. Mahan
U.S. District Judge
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                1           IT IS FURTHER ORDERED that the court’s order appointing counsel for the defendant,
                2     (doc. # 147), be, and the same hereby is, VACATED.
                3           DATED July 30, 2015.
                4                                              __________________________________________
                                                               UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                              -2-
